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               IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION




                                                CR 20-64-GF-BMM

 UNITED STATES OF AMERICA,

              Plaintiff,                        ORDER DENYING DEFENDANT’S
                                                MOTION TO SUPPRESS
        vs.

 JEFFREY BLAINE DOLPHAY,

              Defendant.




      The government charges Jeffrey Blaine Dolphay (“Defendant Dolphay”) with

conspiracy to possess with intent to distribute methamphetamine, in violation of 21

U.S.C. § 846(1), and possession with intent to distribute methamphetamine, in

violation of 21 U.S.C. § 841(a)(1). Doc. 1. Defendant Dolphay filed a Motion to

Suppress. Doc. 15. He challenges the validity of the Phillips County search warrant

authorizing officers to search Wayne Dolphay’s property for a stolen ATV. Doc. 16

at 21. He also challenges the validity three subsequent Hill County search warrants

because they stem entirely from the Phillips County search warrant. Id. The Court

held a hearing on March 24, 2020. Doc. 25.


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BACKGROUND.

      The Initial Search.

      In January 2012, the Phillips County Sheriff’s Office (“the PCSO”) learned

that someone had stolen Jason Morrison’s all-terrain vehicle (“ATV”). Doc. 16-2

at 2. Morrison provided the ATV’s color, make, model, and VIN number. Id. He

also provided serial numbers to various components, including the ATV’s engine

and frame.

      In June 2016, Glenn Dolphay reported the theft of some personal property to

the PCSO. Id. While talking to officers, Glenn claimed that his brother, Wayne

Dolphay, had Morrison’s stolen ATV. Id. Glenn also claimed that Wayne possessed

other stolen property, including a tilt-bed trailer and some heavy equipment. Id. at 3.

Glenn recalled that the State of Montana stock inspector recently had located a stolen

cattle chute from Wayne’s property. Id. Glenn told the PCSO in a follow-up

conversation that Wayne had repurposed the pump and motor from the stolen cattle

chute to use in a wood splitter. Id. The State of Montana stock inspector later

confirmed that they had located a stolen cattle chute with a missing motor on

Wayne’s property in 2016. Id.

      Phillips County Sherriff’s Deputy Jerry Lytle (“Deputy Lytle”) applied for a

search warrant from the Phillips County District Court to search Wayne’s property

for Morrison’s stolen ATV. Doc. 16-2 at 2. Deputy Lytle identified the legal

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descriptions of the four adjoining parcels that constitute Wayne’s property. Id.

at 2−3. Deputy Lytle included in the search warrant application Glenn’s statements,

the State of Montana stock inspector’s corroboration, and details of the 2012 theft

of Morrison’s ATV. Id. Deputy Lytle included in the search warrant application a

google maps imagine depicting Wayne’s property. Id. at 6.

      The google maps image depicts a single, rural property formed by four

contiguous parcels roughly in the shape of a right triangle with the hypotenuse on

the western border. Id. Wilderness Road borders the rural property on the west.

Willow Creek Dr. borders the property on the east. Id. A fence marks the northern

boundary of the property. Another county road, Rd. 30 N., bisects the property west

to east. Id. Roughly two-thirds of the property remains open for the cultivation of

crops and pastureland. Id. A swampy area just north of Rd. 30 N. makes that portion

of the property unusable. Id.

      The shops and outbuildings sit in a cluster in the center of the property just to

the south of Rd. 30 N. Id. Wayne Dolphay’s house, which the officers did not

search, sits roughly one mile to the northwest of the shops and outbuildings at the

end of a lengthy driveway. Id. District Judge John McKeon signed the search

warrant on July 13, 2016. Doc. 16-1 at 1−2.

      The PCSO requested assistance from the Hill County Sheriff’s Office (“the

HCSO”) and executed the Phillips County search warrant on July 14, 2016.

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Doc. 16-4 at 4. Officers located several ATVs near the shop on Wayne’s property,

including Morrison’s ATV. Doc. 16-3 at 1. Morrison’s ATV lacked a few parts,

including the rear fenders. Doc. 25. Officers checked the VIN numbers of the other

ATVs. One VIN number matched an ATV reported stolen in Hill County, Montana.

Doc. 16-4 at 4.

      Officers found a partially disassembled ATV while searching for Morrison’s

missing fenders inside the shop on Wayne’s property. Id. The VIN number on the

disassembled ATV matched an ATV reported stolen in Kootenai County, Idaho. Id.

The Kootenai County police report listed a variety of tools that had been stolen with

the ATV. Id. Officers saw tools scattered around the shop on Wayne’s property that

matched the description of the tools stolen reported from Kootenai County, Idaho.

Id.

      Hill County Sheriff’s Deputy Tanner Donovan applied for a search warrant

from Hill County Justice Court to search further Wayne’s property for stolen tools.

Doc. 16-4. Justice of the Peace Audrey Barger signed the search warrant on July 14,

2016. Id. at 3. Officers continued to search the shop and located several glass pipes,

money, and a bag containing a crystalline substance. Id.

      Tri-Agency Task Force (“TATF”) Agent Shane Rice applied for another

search warrant from Hill County Justice Court to search further Wayne’s property

for drugs. Doc. 16-5. Justice of the Peace Audrey Barger signed the search warrant

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on July 14, 2016. Id. at 3. Officers subsequently located approximately 136 grams

of methamphetamine, several firearms, and various drug paraphernalia, including

baggies, scales, and pipes. Doc. 16-6 at 6. Officers completed the search and left.

Neither Wayne nor Defendant Dolphay were present for the search, and neither were

located or questioned that day.

       Miscellaneous.

       On February 1, 2014, TATF Agent CJ Reichelt (“Agent Reichelt”) learned

from    a   confidential   informant   that   Robert   Bonavita   was   distributing

methamphetamine for Defendant Dolphay in Havre, Montana. Doc. 16-6 at 7. On

January 12, 2015, another confidential informant confirmed that Defendant Dolphay

was selling large amounts of methamphetamine in Havre, Montana. Id. On July 18,

2016, a third confidential informant told Agent Reichelt that he or she recently had

purchased methamphetamine from Defendant Dolphay. Id. The third confidential

informant also claimed that he or she would call or text Defendant Dolphay’s

cellphone to coordinate purchases. Id. Agent Reichelt applied for a search warrant

from the Hill County District Court. Doc. 16-6. Agent Reichelt sought Defendant

Dolphay’s Version Wireless cellphone records. Id. District Judge Daniel Boucher

signed the search warrant on July 20, 2016. Doc. 16-6 at 12.

       On June 6, 2017, the Havre Police Department received a late-night report of

a suspicious car parked at the corner of 7th Avenue and 6th Street. Doc. 16-10.

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Officers arrived and watched the driver of a Dodge Challenger, later identified as

Defendant Dolphay, enter a nearby apartment buildings. Doc. 19 at 8. The

Challenger’s license plates were registered to a green Chevrolet pickup. Id. The

Challenger’s VIN number matched a car reported stolen in California. Id. Officers

arrested Defendant Dolphay for possession of a stolen vehicle, driving with a

suspended license, and having fictitious plates. Id.

      Officers read Defendant Dolphay his Miranda warnings. Doc. 19-2 at 1.

After agreeing to speak with officers, Defendant Dolphay admitted that there was

some methamphetamine and possibly a gun hidden inside the Challenger. Id.

Defendant Dolphay later spoke with TATF agents.            He discussed his drug

distribution activity and acknowledged that the methamphetamine seized in

Wayne’s shop in July 2016 belonged to him. Id.

      The government indicted Defendant Dolphay on September 3, 2020. Doc. 1.

The indictment charged one count of conspiracy to possess with intent to distribute

methamphetamine, in violation of 21 U.S.C. § 846, and one count of possession with

intent to distribute methamphetamine, in violation of 21 U.S.C. § 841(a)(1). Id.



DEFENDANT DOLPHAY’S MOTION TO SUPPRESS

      Defendant Dolphay’s Motion to Suppress (Doc. 15) challenges the validity of

the Phillips County search warrant. He also questions the validity of the three

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subsequent Hill County search warrants because they stem entirely from the initial

Phillips County search warrant. Doc. 16. Defendant Dolphay attacks the Phillips

County search warrant on two separate grounds. First, he claims that the Phillips

County search warrant lacks sufficient particularity because it fails to identify on

which parcels of property each of the outbuildings and shops to be searched exists.

Doc. 16 at 3. Second, he claims that the Phillips County search warrant application

lacks sufficient probable cause because the information provided by Glenn Dolphay

lacks reliability and proves too stale to satisfy the Fourth Amendment’s probable

cause requirement. Id. at 16−17.

      As a preliminary matter, the Government contends that Defendant Dolphay

lacks standing to contest the validity of the Phillips County search warrant because

Defendant Dolphay lacked a legitimate expectation of privacy in the shop. Doc. 19

at 10. The Government also contends that the Phillips County search warrant

contained sufficiently particularity and search warrant application contains

sufficient probable cause. Id. at 14−21.



ANALYSIS

      STANDING

      A person may challenge the validity of a search warrant under the Fourth

Amendment only if he or she possess a legitimate expectation of privacy in the

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places searched. Rakas v. Illinois, 439 U.S. 128, 143 (1978). To demonstrate a

“legitimate expectation of privacy,” a person must show that he or she has an actual

subjective expectation of privacy in the invaded space and that society is prepared

to recognize that expectation. United States v. Armenta, 69 F.3d 304, 308 (9th Cir.

1995). Defendant Dolphay provided, via affidavit and oral testimony, the following

information in support of his claim that he possessed a legitimate expectation of

privacy in the shop:

          The shop belonged to his father, Wayne Dolphay.

          He performed labor and upkeep on the shop and around Wayne’s
           property.

          He worked and stayed in the shop during seeding, harvest, and
           calving seasons.

          The shop and the living space inside were equipped with locks,
           to which only he and Wayne possessed keys.

          He routinely stored his tools and other personal items in the shop
           and living space.

          He lived in the shop for a month in February 2016 and 1−2 nights
           per week afterwards.

          He received mail at the Dolphay property and stored the mail in
           the shop.

          He kept clothes and other household items in the shop, often
           times temporarily but sometimes permanently.

          He did not expect others to enter the shop without either him or
           Wayne present.
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Doc. 16-7; Doc. 25. Defendant Dolphay erroneously relies on the factors outlined

in Minnesota v. Olson, 495 U.S. 91, 93 (1990), rather than the totality-of-the-

circumstances standard outlined in Rakas v. Illinois, 439 U.S. 128, 143 (1978). The

United States Supreme Court rejected the Olson factors as needlessly complex.

Olsen, 495 U.S. at 96.

      The record indicates, nonetheless, that Defendant Dolphay possessed a

legitimate expectation of privacy in shop. See United States v. Davis, 932 F.2d 752,

757 (1991). In Davis, officers searched the apartment in which the defendant was

renting a room. The Ninth Circuit affirmed the District Court’s finding that the

defendant had a legitimate expectation of privacy. Id. The facts in Davis prove

analogous to the facts in the present case. In both cases, the defendants had a key to

the places searched and remained free to come and go as they wished. Both

defendants stored personal belongings at the places to be searched, and they took the

precaution to lock away personal items. Both defendants previously and currently

had resided in the places searched for extended periods of time.

      The Davis Court found significant the fact that the defendant had paid rent

and exercised joint control of the property. Id. In the present case, Defendant

Dolphay did not testify that he paid rent. He did testify, however, that he alone

provided for the shop’s upkeep, suggesting a personal investment in the shop much

akin to a person paying. This arrangement, taken together with his joint control over
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the shop, suggests Defendant Dolphay possessed a legitimate expectation of privacy.

See id. Consequently, the Court finds that Defendant Dolphay maintains standing

to challenge the search warrants authorizing officers to search the shop. See Rakas,

439 U.S. at 143.



VALIDITY OF THE PHILLIPS COUNTY SEARCH WARRANT.

      Reliability of Glenn Dolphay’s Tip.

      Defendant Dolphay’s seems to argue that Glenn Dolphay failed to provide

sufficient information to satisfy the Fourth Amendment’s probable cause

requirement because Glenn’s information lacks indicia of reliability and proved too

stale. Id. at 16−17. The Court must evaluate the reliability of an informant’s

information based on the totality of the circumstances. Illinois v. Gates, 462 U.S.

213, 231 (1983). Relevant factors include whether the informant was anonymous,

see Florida v. J.L., 529 U.S. 266, 271 (2000), whether the informant maintains a

history of providing reliable information, see Adams v. Williams, 407 U.S. 143,

146−147 (1972), or whether the informant discloses the basis of knowledge of the

information, see Spinelli v. United States, 393 U.S. 410, 416 (1969). Taking these

factors into consideration, the Court finds that the totality of the circumstances

indicates Glenn’s information constitutes reliable information. See Gates, 462 U.S.

at 213.

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      First, Glenn did not provide the PCSO with information under the veil of

anonymity. See Florida v. J.L., 529 U.S. at 271. He went to the PSCO, identified

himself as Glenn Dolphay, and spoke with Deputy Lytle in person. Deputy Lytle

could evaluate Glenn Dolphay’s reputation, judge his demeaner, and locate him later

should the information turn out to be unreliable. See Florida v. J.L., 529 U.S. 266,

270. In fact, the record shows that Deputy Lytle contacted Glenn at least once after

the initial interview to request follow up information.

      Second, the record contains no information to indicate that Glenn had a history

of providing unreliable information to law enforcement. See Adams, 407 U.S. at

146−47. He provided information that Deputy Lytle immediately could corroborate.

Furthermore, the circumstances of the case suggest that Glenn possessed no

motivation to fabricate information.

      Third, Glenn provided the basis of knowledge for his information. See

Spinelli, 393 U.S. at 416. Glenn told the PCSO that Wayne was his brother and that

Glenn personally had seen Morrison’s ATV on Wayne’s property and the date on

which Glenn had seen it.

      Staleness of Glenn Dolphay’s Tip.

      Defendant Dolphay argues briefly that the search warrant application relied

on stale information because the PCSO first learned of Morrison’s stolen ATV four

years before the search. Doc. 16 at 17. The Court must evaluate staleness in light

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of the particular facts of the case and the nature of the criminal activity and property

sought. United States v. Foster, 711 F.2d 871, 878 (9th Cir. 1983). Defendant

Dolphay’s argument incorrectly frames the issue of staleness. The PCSO did not

rely on the four-year-old police report. The PCSO instead relied on information

provided by Glenn Dolphay in 2016. The original police report served to corroborate

this information. Glenn told the PCSO on June 18, 2016, that he had seen Morrison’s

ATV on Wayne’s property in March or April of 2016. If Wayne kept Morrison’s

ATV for four years, as Glenn’s information suggests, then the Phillips County

District Court reasonably could believe both that Wayne would likely not have

recently relocated or destroyed Morrison’s ATV and that a search likely would yield

fruitful results.

       Other factors also weigh against a staleness finding. The 2012 police report

remained open. This fact indicated that Morrison’s ATV had not been found. The

State of Montana stock inspector recently had seized a stolen cattle chute on

Wayne’s property. This recent seizure indicates that Wayne Dolphay kept stolen

goods on his property. Glenn’s information further suggests that Wayne had

repurposed parts from the stolen cattle chute. This information indicates that Wayne

may have kept parts of Morrison’s stolen ATV for long-term purposes. The Phillips

County district judge, given the circumstances of this case, reasonably could have

concluded that evidence of Morrison’s stolen ATV reasonably could be found on

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Wayne’s property when the PCSO executed the search warrant in July of 2016. See

United States v. Greany, 929 F.2d 523, 525 (9th Circuit 1991).

      Particularity.

      Defendant Dolphay claims that the Phillips County search warrant lacks

sufficient particularity because it does not articulate precisely which buildings to be

searched and the location of these buildings on each of the four parcels of property.

The Fourth Amendment requires that a search warrant particularly describe both the

places to be searched and the persons or things to be seized. United States v.

Spilotro, 800 F.2d 959, 963 (9th Cir. 1986). A search warrant must be sufficiently

specific to enable the person conducting the search reasonably to identify the places

authorized to be searched and the persons and things authorized to be seized. Id.

The required level of specificity depends on the circumstances of a case. Id.

      Most case law relating to the Fourth Amendment’s particularity requirement

specifically addresses the particularity of the persons or things to be seized rather

than the particularity of the places to be searched. The standard remains the same

for both. See Spilotro, 800 F.2d at 963. As a result, the Court will assume that the

case law addressing the particularity of the persons or things to be seized remains

applicable or at least quite instructive. Id.

      The Ninth Circuit concentrates on the following factors in evaluating

particularity: (1) whether probable cause exists to seize all items of a particular type

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of items described in the search warrant; (2) whether the warrant sets out objective

standards by which executing officers can differentiate the items subject to seizure

from those which are not; and, (3) whether the government was able to describe the

items subject to seizure more particularly considering the information available to it

at the time the search warrant was issued. Spilotro, 800 F.2d at 964. Given the

analysis of these factors below, the Phillips County Search Warrant (Doc. 16-1)

proves sufficiently particular.

      Regarding the first factor, probable cause exists to search all the parcels

described in the search warrant. The warrant identifies the places to be search as all

of the outbuildings, shops, and outdoor areas of Wayne Dolphay’s property in Hill

County, MT. Doc 16-1. The search warrant described Wayne’s property by

providing the legal descriptions of the four adjoining parcels of land. Glenn Dolphay

told the PCSO that he personally had seen Morrison’s ATV on Wayne’s property.

He also said that he had seen Wayne work on Morrison’s ATV in the only shop on

the property. This information constitutes probable cause to believe officers would

find Morrison’s ATV on Wayne’s property, either in the outdoor areas or within one

of the outbuildings or shops. It proves reasonable, therefore, that the search warrant

authorized officers to search all of the outbuildings, shops, and outdoor areas of the

four adjoining parcels.




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      Regarding the second factor, the search warrant articulates objective standards

to differentiate the places that were to be searched from the places that were not.

The search warrant primarily authorizes officers to search those places that officers

reasonably might find Morrison’s ATV. In this case: all the outbuildings, shops, and

outdoor areas of Wayne’s property. The search warrant would not authorize officers

to search places that could not contain Morrison’s ATV. See United States v. Ross,

456 U.S. 798, 821 (1982). This practical limitation excludes searching any place too

small to find an ATV, such as a small cupboard inside a building or inside a vehicle’s

glove compartment. This limitation excludes searching any place where a person

could but would not reasonably keep an ATV, like a person’s bedroom. Consistent

with this principle, Deputy Lytle testified that officers had no intention of searching

Wayne’s house because they did not anticipate finding Morrison’s ATV in it.

      Regarding the third factor, officers reasonably could not describe the places

to be searched with any more particularity. The movable nature of an ATV makes

it impractical for the search warrant to specify the location where officers would find

an ATV with any more particularity. The search warrant reasonably narrows the

scope to those places where one reasonably might keep an ATV: all the outbuildings,

shops, and outdoor areas of Wayne’s property. See Ross, 456 U.S. at 821. As

depicted in the google maps image contained in the search warrant application, the

outbuildings and shops are clustered in the center of the property with cultivated

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cropland and pastureland surrounding the occupied areas. Officers never searched

the only house located on the other side of the property.

      Defendant Dolphay makes much of the fact that the search warrant does not

specify which of the outbuildings and shops are located on which of four adjoining

parcels. Doc. 16 at 14. The Court finds this issue largely irrelevant. All of the

buildings were located on a contiguous parcel of property owned by Wayne

Dolphay. To state this fact in the search warrant would have added nothing of

substance to the warrant.

      Second, the search warrant authorizes officers to search all of the

outbuildings, shops, and outdoor areas of these four adjoining parcels. It makes no

difference that the search warrant does not identify which outbuilding and shop are

on which parcel because the search warrant authorizes officers to search every

outbuilding and shop. Defendant Dolphay’s argument might be relevant in a

scenario where there exist multiple buildings on multiple parcels, but a search

warrant authorizes officers to search only one particular building. In that case, the

search warrant would need to be specific enough to enable officers reasonably to

determine which buildings were subject to search and which were not. Spilotro, 800

F.2d at 963. In the present case, the level of specificity that Defendant Dolphay

would require would not have aided the officers in distinguishing those buildings

that were to be searched from those that were not. Id.

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THE VALIDITY OF THE REMAINING WARRANTS.

      Defendant Dolphay argues that the three subsequent Hill County search

warrants stem from the execution of the Phillips County search warrant. Doc. 16 at

18−20. Given the Court’s determination above that the Phillips County search

warrant proves valid, Defendant Dolphay’s argument against the subsequent Hill

County search warrants cannot prevail.



   IT IS HEREBY ORDERED:

1. Defendant Dolphay’s Motion to Suppress (Doc. 15) is DENIED.


   Dated the 6th day of April, 2021.




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